Case 3:06-cr-00229-MHL-RCY Document 55 Filed 10/19/18 Page 1 of 5 PageID# 105




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

UNITED STATES OF AMERICA

v.                                                                 Criminal No. 3:06CR229

TAEMON LAMAR MASHORE,

       Petitioner.

                                MEMORANDUM OPINION

       Taemon Lamar Mashore, Jr., a federal inmate proceeding prose, brings this motion

pursuant to 28 U.S.C. § 2255 ("§ 2255 Motion," ECF No. 47). The Government has moved to

dismiss, asserting that Mashore's § 2255 Motion is barred by the statute of limitations. (ECF

No. 51.) Mashore has replied. (ECF Nos. 52-54.) For the reasons set forth below, Mashore's

§ 2255 Motion will be DENIED.

                                    I. Procedural History

       On September 15, 2006, Mashore pied guilty to conspiracy to possess with intent to

distribute fifty grams or more of cocaine base (Count One) and possession of a fireann in

furtherance of a drug trafficking crime (Count Four). (ECF No. 19; ECF No. 43, at 1.) On

December 12, 2006, the Court entered final judgment and sentenced Mashore to the mandatory

minimum statutory sentence for each offense. (J. 2, ECF No. 32.) Specifically, the Court

sentenced Mashore to 120 months on Count One to be followed by a sixty-month consecutive

sentence on Count Four. (Id) Mashore did not appeal.

       On May 31, 2017, Mashore executed his § 2255 Motion and presumably placed it in the

prison mail system for mailing to this Court. (§ 2255 Mot. 6.) 1 The Court deems the § 2255

       1
        The Court utilizes the pagination assigned to Mashore's submissions by the CM/ECF
docketing system.
Case 3:06-cr-00229-MHL-RCY Document 55 Filed 10/19/18 Page 2 of 5 PageID# 106



Motion filed as of that date. See Houston v. Lack, 487 U.S. 266,276 (1988). In his§ 2255

Motion, Mashore contends that he is entitled to relief because the Court committed a number of

errors in imposing his sentence. 2 Mashore contends his§ 2255 Motion is timely filed because he

filed it within one year of the Supreme Court's decision in Dean v. United States, 137 S. Ct.

1170 (2017).3 As explained below, the decision in Dean fails to provide Mashore a belated

commencement of the limitation period and the action is untimely.

                                          II. Analysis

       A.      Running of the Statute of Limitations

       Section 101 of the Antiterrorism and Effective Death Penalty Act (..AEDPA") amended

28 U.S.C. § 2255 to establish a one-year period of limitation for the filing of a§ 2255 Motion.

Specifically, 28 U.S.C. § 2255(f)now reads:

       (t)     A I-year period of limitation shall apply to a motion under this section.
               The limitation period shall run from the latest of.-
               (1)    the date on which the judgment of conviction becomes
                      final;
               (2)    the date on which the impediment to making a motion
                      created by governmental action in violation of the
                      Constitution or laws of the United States is removed, if the
                      movant was prevented from making a motion by such
                      governmental action;
               (3)    the date on which the right asserted was initially recognized
                      by the Supreme Court, if that right has been newly

       2
         For example, Mashore contends that, "this district court erred when at the movant's
sentencing hearing in 2006, it justified its sentencing decisions under the guidance of USSG
§ 5O1.l(b) to impose two mandatory minimum awards in punishment to be served
consecutively." (ECF 48, at 3 (emphasis in original).) It is unnecessary to unravel all of
Mashore's inchoate arguments of error as the statute of limitations clearly bars the action.
       3
          In Dean, the Supreme Court of the United States held that a district court is not
prohibited from considering the impact of the mandatory minimum sentence required under 18
U.S.C. § 924(c) in determining the appropriate sentence for the predicate offense. See Dean, 137
S. Ct. at 1176-77 ("Nothing in § 924(c) restricts the authority conferred on sentencing courts by
§ 3553(a) and the related provisions to consider a sentence imposed under§ 924(c) when
calculating a just sentence for the predicate count.").

                                                2
Case 3:06-cr-00229-MHL-RCY Document 55 Filed 10/19/18 Page 3 of 5 PageID# 107



                      recognized by the Supreme Court and made retroactively
                      applicable to cases on collateral review; or
               (4)    the date on which the facts supporting the claim or claims
                      presented could have been discovered through the exercise
                      of due diligence.

28 U.S.C. § 2255(f). Because Mashore did not appeal, under 28 U.S.C. § 2255(f)(l), his

conviction became final on Wednesday, December 27, 2006, the last date to file a notice of

appeal. See United States v. Clayton, No. 3:07CR488, 2010 WL 4735762, at *3 (E.D. Va. Nov.

15, 2010) (citing Arnette v. United States, Nos. 4:01CR16, 4:04CV122, 2005 WL 1026711, at *4

(E.D. Va. May 2, 2005)); Fed. R. App. P. 4(b)(l)(A) (effective until December 9, 2009)

(requiring defendant to file an appeal within ten (10) days of the entry of judgment). Thus,

Mashore's § 2255 Motion that he filed in 2017 is untimely unless he demonstrates some basis for

a belated commencement of the limitation period or some equitable basis for avoiding the

limitation period.

       B.      Belated Commencement Under 28 U.S.C. § 2255(0(3)

       Mashore suggests that the decision in Dean entitles him to a belated commencement of

the limitation period under 28 U.S.C. § 2255(t)(3). In order to obtain a belated commencement

of the limitation period under§ 2255(f)(3), a petitioner "must show: (1) that the Supreme Court

recognized a new right; (2) that the right 'has been ... made retroactively applicable to cases on

collateral review'; and (3) that he filed his motion within one year of the date on which the

Supreme Court recognized the right." United States v. Mathur, 685 F.3d 396,398 (4th Cir.

2012) (quoting 28 U.S.C. § 2255(t)(3)). The decision in Dean fails to provide a basis for a

belated commencement of the limitation period as that decision fails to recognize a new right

that applies retroactively to cases on collateral review. In re Dockery, 869 F.3d 356 (5th Cir.

2017) (denying authorization to file a successive§ 2255 because motion did not show that Dean



                                                 3
Case 3:06-cr-00229-MHL-RCY Document 55 Filed 10/19/18 Page 4 of 5 PageID# 108



announced a new rule of constitutional law that was made retroactive to cases on collateral

review);Alvarez-Murillo v. United States, No. 3:l~r--0343-B (BT), 3:17-cv-1124-(B) (BT),

2018 WL 3489638, at *1 (N.D. Tex. May 29, 2018), report and recommendation adopted, No.

3:14-CR--0343-B (BT), 3:17-CV-1124-B (BT), 2018 WL 3475601 (N.D. Tex. July 18, 2018);

United States v. Clark, No. 2:l~r-20199, 2018 WL 3207975, at *3 (E.D. Mich. June 29,

2018); United States v. Dean, 3:08-479-CMC, 2017 WL 6349834, at *2 (D.S.C. Dec. 13, 2017).

Accordingly, Mashore is not entitled to belated commencement of the limitation period in light

of the decision in Dean.

                        III. Request for Relief Under the All Writs Acts

       Mashore also has filed a "MOTION FOR LEAVE TO FILE PETITION FOR

EXTRAORDINARY WRIT OF ERROR," ("Motion for Writ," ECF No. 54), wherein he

contends that he is entitled to use the All Writs Act, 28 U.S.C. § 1651(a) to challenge his

sentence. The All Writs Act, "permits 'courts established by Act of Congress' to issue 'all writs

necessary or appropriate in aid of their respective jurisdictions."' United States v. Denedo, 556

U.S. 904,911 (2009) (quoting 28 U.S.C. § 165l(a)). The "All Writs Act is a residual source of

authority to issue writs that are not otherwise covered by the statute. Where a statute specifically

addresses the particular issue at hand, it is that authority, and not the All Writs Act, that is

controlling." Carlisle v. United States, 517 U.S. 416, 429 (1996) (citation omitted). Here, 28

U.S.C. § 2255 specifically addresses challenges to a conviction or sentence by a federal prisoner,

thus that statute is controlling. See Ortiz v. United States, 555 F. App'x 261,262 (4th Cir. 2014).

As explained above, any attempt by Mashore to challenge his sentence is barred by the relevant

statute oflimitations. Accordingly, Mashore's Motion for Writ (ECF No. 54) will be DENIED.




                                                   4
Case 3:06-cr-00229-MHL-RCY Document 55 Filed 10/19/18 Page 5 of 5 PageID# 109



                                       IV. Conclusion

       For the foregoing reasons, Mashore's § 2255 Motion (ECF No. 47) will be DENIED as

barred by the statute of limitations. The Government's Motion to Dismiss (ECF No. 51) will be

GRANTED. As Mashore has not demonstrated his entitlement to relief, his Motion for

Summary Judgment (ECF No. 52) will be DENIED. Similarly, Mashore's "MOTION OF

COURSE FOR COURT TO ENTER JUDGMENT DEDUCTIBLE BY DUE PROCESS

RIGHTS," (ECF No. 53), wherein he demands a prompt, favorable ruling on his Motion for

Summary Judgment, will be DENIED. The Motion for Writ (ECF No. 54) will be DENIED.

The action will be DISMISSED. A certificate of appealability will be DENIED.

       An appropriate Order will accompany this Memorandum Opinion.




                                                          M. Hannah La
                                                          United States 1s ·
Date: OCT 1 9 2018
Richmond, Virginia




                                              5
